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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                        GAINESVILLE DIVISION

LANDON KING,

      Plaintiff,

v.                                          CASE NO.: 1:19-cv-331-AW-GRJ

AMES/DETRICK TRUCK COMPANY,

     Defendant.
_________________________________/

            JOINT MOTION FOR APPROVAL OF SETTLEMENT
           AND STIPULATION OF DISMISSAL WITH PREJUDICE

      Plaintiff LANDON KING and Defendant AMES/DETRICK TRUCK

COMPANY, through their undersigned counsel, file this Joint Motion for Approval

of Settlement and Stipulation of Dismissal with Prejudice and request the Court to

approve the parties’ settlement of Plaintiff's claims under the Fair Labor Standards

Act as follows:

      1.     This case is for unpaid wages under the FLSA, FLSA Retaliation, and

breach of contract. The Complaint alleges that Defendant employed Plaintiff from

on or about February 2019 to on or about December 13, 2019 and Plaintiff was not

paid overtime compensation for the alleged overtime hours worked due to alleged

improper meal break deductions. (Doc. 1 - Complaint ¶¶ 9, 11–12, 27)
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       2.      The Complaint further alleges that Defendant terminated Plaintiff in

retaliation when Plaintiff complained about the FLSA overtime violations (Doc. 1 –

Complaint ¶¶ 25–28) and that Defendant breached a contract by failing to pay

Plaintiff for all hours worked (Doc. 1 – Complaint ¶¶ 29–32). Defendant denies that

any money is owed, denies that Plaintiff was retaliated against, and denies that any

contract was breached.

       3.      As to the FLSA wages claim, Defendant paid Plaintiff for all meal

breaks taken, which totaled about 40 hours’ worth during Plaintiff’s employment, as

documented on Plaintiff’s timecards. The timecards also show that in several weeks

Plaintiff did not work over 40 hours those weeks, even adding the meal breaks

deducted. Defendant calculates the full value of Plaintiff’s claim for unpaid wages

to be no more than $1,000 as Defendant properly deducted the time in which Plaintiff

took meal breaks (and other breaks).

       4.      As to the retaliation claim, Defendant denies that Plaintiff ever

complained about any FLSA violation and that Plaintiff was terminated in

retaliation.

       5.      As to the breach of contract claim, Defendant disputes that any

agreement between the parties existed and asserts that Plaintiff was paid for all hours

worked.




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      6.     Following settlement discussions by counsel for the parties and as a

compromise of a bona fide dispute, the parties have reached a full and complete

settlement of Plaintiff’s claims under the FLSA as follows:

             a.     Defendants will pay Plaintiff a gross amount of $1,000.00, less

                    applicable withholding of taxes and FICA, in settlement of his

                    disputed and denied wages claims and breach of contract claim,

                    which relates to unpaid wages;

             b.     Defendants will pay Plaintiff a gross amount of $1,000.00 in

                    settlement of his disputed and denied liquidated damages claims;

                    and

             c.     Defendants will pay Plaintiff a gross amount of $2,060.00 in

                    settlement of his disputed and denied retaliation claim, and in

                    exchange for a general release and confidentiality provision; and

             d.     Defendants will pay Matthew Birk a gross amount of $3,440.00

                    in settlement of Plaintiff’s disputed and denied attorney’s fees

                    and costs claims;

      7.     The settlement is a fair and reasonable resolution of a bona fide dispute

under Lynn's Food stores, Inc. v. United States, 679 F.2d 1350, 1353 (11th Cir.

1982). Defendant has agreed to pay more than its calculation of the full value of

Plaintiff’s claims, though it specifically disputes and denies any liability.


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      8.     Moreover, the amount of attorney’s fees and costs was negotiated

separately and without regard to the settlement of Plaintiff’s claims.

      9.     The parties are independently represented by counsel and have agreed

to settle this case voluntarily and knowingly.

      10.    Upon the Court’s approval of the parties’ settlement of this action, the

parties agree to the dismissal of this matter, with prejudice and stipulate to a final

order of dismissal.

      WHEREFORE, the parties request that the settlement be approved, and this

case be dismissed with prejudice.

                                MEMORANDUM OF LAW

      In detailing the circumstances justifying court approval of an FLSA settlement

in a litigation context, the Eleventh Circuit has stated as follows:

      Settlements may be permissible in the context of a suit brought by employees
      under the FLSA for back wages because initiation of the action by the
      employees provides some assurance of an adversarial context. The employees
      are likely to be represented by an attorney who can protect their rights under
      the statute. Thus, when the parties submit a settlement to the court for
      approval, the settlement is more likely to reflect a reasonable compromise of
      disputed issues than a mere waiver of statutory rights brought by an
      employer's overreaching. If a settlement in an employee FLSA suit does
      reflect a reasonable compromise over issues, such as FLSA coverage or
      computation of back wages that are actually in dispute, we allow the district
      court to approve the settlement in order to promote the policy of encouraging
      settlement of litigation.

Lynn's Food Stores, 679 F.2d at 1354.



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      The settlement of the instant action reflects a reasonable compromise of

disputed issues including FLSA coverage and the method of calculating claimed

damages. All parties are represented by counsel, and there is no overreaching as

Plaintiff negotiated for the full value of his back pay and liquidated damages claims

and separately negotiated attorney’s fees and costs without regard to the settlement

of Plaintiff’s claims.

      Wherefore, the Parties respectfully submit that the settlement is a reasonable

compromise of the disputed issues and should be approved.

      Respectfully submitted this 29th day of April, 2020.

 THE LAW OFFICE OF                           DONNELLY + GROSS
 MATTHEW BIRK
                                    /s/ Paul A. Donnelly
 /s/ Matthew W. Birk                Paul A. Donnelly
 Matthew W. Birk                    Florida Bar No. 813613
 Florida Bar No.: 92265             paul@donnellygross.com
 mbirk@gainesvilleemploymentlaw.com Cole A. Barnett
 309 NE 1st Street                  Florida Bar No. 119722
 Gainesville, FL 32601              cole@donnellygross.com
 Telephone: 352-244-2069            Donnelly + Gross
 Facsimile: 352-372-3464            2421 NW 41st Street, Suite A-1
                                    Gainesville, FL 32606
 Counsel for Plaintiff              Telephone: (352) 374-4001
                                    Facsimile: (352) 374-4046

                                             Counsel for Defendant




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